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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                      )
                                              )
                                              )
       v.                                     )       No. 1:23-mj-04293
                                              )
JACK DOUGLAS TEIXEIRA                         )
                                              )

                               NOTICE OF APPEARANCE


       Attorney Allen Franco hereby files his appearance on behalf of Jack Teixeira, the

defendant in this matter.

                                                           Respectfully submitted,

                                                           /s/ Allen Franco
                                                           Allen Franco
                                                           Bar No: AR2018197
                                                           Research & Writing Attorney
                                                           Federal Public Defender Office
                                                           51 Sleeper Street, 5th Floor
                                                           Boston, MA 02210
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                               CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on April 14, 2023.

                                                      /s/ Allen Franco
                                                      Allen Franco
